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                                                          March 27, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       As referenced in our letter to the Court, dated March 17, 2023 (ECF No. 109), we
respectfully submit this letter on behalf of the parties to propose various additions and
modifications to Mr. Bankman-Fried’s bail conditions to address issues raised by the
Government and the Court in prior correspondence and at previous court conferences. The
proposed conditions are set forth in the proposed order attached as Exhibit A. The Government
consents to this proposal.

        At the Court’s request, we have included in Appendix 1 of Exhibit A specific information
about the monitoring and security software we plan to use to implement the new conditions.
Because this information could potentially be used by outside actors to gain unauthorized access
to these devices, we respectfully request that Appendix 1 be filed under seal. The Government
does not object to the sealing request.

        The Second Circuit has recognized a presumption of access to “judicial documents”
under both common law and the First Amendment. Lugosch v. Pyramid Co. of Onandaga, 435
F.3d 110, 119-20 (2d Cir. 2006). In the common law framework, it is appropriate to permit the
filing of documents under seal if the “weight of that presumption” is outweighed by
“countervailing factors” including “the privacy interests of those resisting disclosure.” Id.
(citation and internal quotation marks omitted). The weight of the presumption of access
depends upon “the role of the material at issue in the exercise of Article III judicial power and
the resultant value of such information to those monitoring the federal courts.” Id. at 119
(citation and internal quotation marks omitted). In the First Amendment framework, it is
appropriate to permit the filing of documents under seal “if specific, on the record findings are
made demonstrating that closure is essential to preserve higher values and is narrowly tailored to
serve that interest.” Id. at 120 (citation and internal quotation marks omitted).
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          We assume for purposes of this submission that the Court would deem Appendix 1 to be
  a “judicial document” subject to the “presumption of access under both the common law and the
  First Amendment.” Id. at 124. However, the presumption should be afforded little weight
  because Appendix 1 will play only a small role in the Court’s determination of the appropriate
  bail conditions. See Brown v. Maxwell, 929 F.3d 41, 49-50 (2d Cir. 2019) (“[D]ocuments that
  play only a negligible role in the performance of Article III duties are accorded only a low
  presumption[.]” (citation and internal quotation marks omitted)). The proposed bail conditions
  are set forth in detail in the proposed order, which is unredacted and provides ample information
  to the public to monitor the Court’s exercise of its supervisory authority over Mr. Bankman-
  Fried’s bail conditions. Appendix 1 simply provides the brand names of the monitoring software
  and other tools that the defense will use to implement these conditions, as well as additional
  description of these products. That information has little value to the public in monitoring the
  Court’s Article III judicial power.

          By contrast, there are substantial “countervailing factors” weighing against public access
  to the information in Appendix 1. Mr. Bankman-Fried will have access through his electronic
  devices to highly sensitive information, including the FTX transactional database and the rest of
  the criminal discovery. In addition, the monitoring software installed on the electronic devices in
  the home will capture photographs of Mr. Bankman-Fried and his parents. As set forth in the
  Declaration of David Sun, attached as Exhibit B, this information is a highly attractive target for
  hackers to exploit. Publicly disclosing the specific tools and cloud-based platforms used will
  make it easier for hackers to gain unauthorized access to Mr. Bankman-Fried’s devices. (See
  Ex. B). The need to protect against such a potential cybersecurity attack is a “countervailing
  factor” that greatly outweighs any presumption of access to Appendix 1. See CBF Industria de
  Gusa S/A v. AMCI Holdings, Inc., No. 13-CV-2581(PKC)(JLC), 2021 WL 4135007, at *3–4
  (S.D.N.Y. Sept. 10, 2021) (“[T]he need to protect a party from a cyber security attack may be a
  legitimate basis to rebut the public’s presumption of access to judicial documents, where the
  threat of a cyber security attack outweighs the extent to which the particular information was
  used to inform the Court’s opinion.”).

          For the reasons set forth above, we respectfully request that the Court sign the proposed
  order attached as Exhibit A and file Appendix 1 under seal. Should the Court approve these bail
  conditions, it may take some time to implement them. Accordingly, the defense respectfully
  renews its request for the specific interim relief requested in its March 17, 2023 letter; namely,
  that the Court sign the proposed order attached that letter allowing Mr. Bankman-Fried to access
  and review the FTX transactional database (the “AWS Database”) using a laptop computer
  controlled by his attorneys. (See ECF No. 109).
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                                            Respectfully submitted,


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  cc:   All counsel of record (via ECF)
